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16                     UNITED STATES DISTRICT COURT
                FOR THE SOUTHERN DISTRICT OF CALIFORNIA
17                                      (San Diego)
18
   AL OTRO LADO, Inc., et al.,                Case No. 3:17-cv-02366-BAS-KSC
19
20                          Plaintiffs,       Hon. Cynthia A. Bashant
21                       v.               DEFENDANTS’ SUPPLEMENTAL
22                                        BRIEFING REGARDING GARLAND
   ALEJANDRO MAYORKAS, Secretary v. ALEMAN GONZALEZ
23
   of Homeland Security, et al., in their
24 official capacities, *
25
                           Defendants.
26
27
28
       *
         Pursuant to Federal Rule of Civil Procedure 25(d), Secretary Mayorkas is automat-
       ically substituted as a Defendant for former Acting Secretary Wolf.
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 1           The Supreme Court’s recent decision in Garland v. Aleman Gonzalez, --- S.
 2     Ct. ---, 2022 WL 2111346 (June 13, 2022), confirms that 8 U.S.C. § 1252(f)(1) fore-
 3     closes, at minimum, the injunctive relief Plaintiffs seek in this case.
 4           The Court granted summary judgment for Plaintiffs on their Administrative
 5     Procedure Act (APA) and procedural due process claims on the ground that, absent
 6     express statutory authority, U.S. Customs and Border Protection (CBP) cannot defer
 7     its obligations to inspect and refer asylum seekers under 8 U.S.C. §§ 1225(a)(3),
 8     1225(b)(1)(A)(ii). MSJ Order (ECF No. 742) at 33. It held that “turning back asylum
 9     seekers . . . without inspecting and referring them upon their arrival unlawfully with-
10     holds Defendants’ statutory duties” in violation of the APA, 5 U.S.C. § 706(1), and
11     that due process thus also requires fulfillment of these duties because they are re-
12     quired by statute. MSJ Order at 33-34, 37-38. The Court held that CBP owed these
13     duties even to asylum-seekers who have yet to enter U.S. territory because, it rea-
14     soned, 8 U.S.C. §§ 1158(a)(1) and 1225 “appl[y] to migrants who are ‘in the process
15     of arriving’” in the United States at Class A ports of entry (POEs) along the U.S.-
16     Mexico border, which the Court held to include “aliens who have not yet come into
17     the United States, but who are attempting to do so and may still be physically outside
18     the international boundary line at a POE.” Id. at 19. The Court solicited briefing on
19     the appropriate remedy in light of its § 706(1) finding. MSJ Order at 45.
20           As Defendants argued in their remedy brief, 8 U.S.C. § 1252(f)(1) bars the
21     broad injunctive relief Plaintiffs seek. See ECF No. 770 at 2-6. That section provides
22     that “no court (other than the Supreme Court) shall have jurisdiction or authority to
23     enjoin or restrain the operation of” 8 U.S.C. §§ 1221–1232, “other than with respect
24     to the application of such provisions to an individual alien against whom proceedings
25     under such part have been initiated.” 8 U.S.C. § 1252(f)(1). It thus bars Plaintiffs’
26     proposed injunction requiring Defendants to inspect all noncitizens under
27     § 1225(a)(3) before they enter the United States. See Pls.’ Prop. Order (ECF No.
28     773-4) ¶ 2 (requesting an injunction to prohibit Defendants from “denying access to


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 1     inspection and/or asylum processing to noncitizens who . . . are in the process of
 2     arriving in the United States at Class A Ports of Entry”). It also bars those aspects of
 3     an injunction that dictate what procedures apply in removal proceedings or during
 4     inspection and expedited removal. See ECF No. 770 at 6; Pls.’ Prop. Order ¶¶ 3-4
 5     (seeking such relief). The Supreme Court’s decision in Aleman Gonzalez reinforces
 6     each of Defendants’ arguments on the applicability of § 1252(f)(1).
 7           First, the Supreme Court confirmed that § 1252(f)(1) bars mandatory and pro-
 8     hibitory injunctions that impose affirmative obligations on the government with re-
 9     spect to the operation of covered provisions like § 1225. See Aleman Gonzalez, 2022
10     WL 2111346 at *4. It “generally prohibits lower courts from entering injunctions
11     that order federal officers to take or to refrain from taking actions to enforce, imple-
12     ment, or otherwise carry out the specific statutory provisions,” including the provi-
13     sions at issue here related to “the inspection” and “examination” of noncitizens. Id.
14     (emphasis added). Orders “prohibiting all forms of turnbacks,” ECF No. 535-1 at 3,
15     and requiring Defendants to inspect noncitizens who are still outside the United
16     States thus would run afoul of this bar because they would require Defendants “to
17     take actions that [they] do[] not believe are required by [the statute].” Id. at *5.
18           Second, the Supreme Court rejected Plaintiffs’ argument (at ECF No. 610 at
19     19) that § 1252(f)(1) is not implicated when the injunction seeks to remedy the vio-
20     lation of the relevant statute. See Aleman Gonzalez, 2022 WL 2111346 at *6. It held
21     that the term “operation” as used in § 1252(f)(1) is not limited to the proper or lawful
22     operation of the statute. Id. Section 1252(f)(1) thus prohibits injunctions, like the one
23     Plaintiffs seek here, that purport to enforce “the operation of [§§ 1221–1232] ‘as
24     properly interpreted.’” Id. Plaintiffs’ reading of § 1252(f)(1) is also contrary to the
25     statutory context, as it would “make a court’s jurisdiction to entertain a request for
26     class-wide injunctive relief dependent upon the merits of the claim.” Id. at *7.
27           Third, the Supreme Court’s reasoning confirms that § 1252(f)’s bar on class-
28     wide relief does not depend on the nature of the underlying claim. For example,


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 1     Plaintiffs may claim that § 1252(f)(1) does not bar injunctive relief here because the
 2     Court indicated that the scope of Defendants’ duties under § 1225 is in part defined
 3     by 8 U.S.C. § 1158(a)(1), see MSJ Order at 25, which is not a covered provision of
 4     § 1252(f)(1). That is incorrect. As explained, Plaintiffs did not base their § 706(1)
 5     claim on § 1158. See ECF No. 770 at 3 n.3; see also ECF No. 768 at 19 (conceding
 6     that Plaintiffs “seek to enjoin agency action that violates duties under § 1225”). And
 7     this Court already determined that § 1158(a)(1) “does not identify any specific obli-
 8     gations placed on an immigration officer and therefore, may not serve as the basis
 9     for [§] 706(1) relief.” Al Otro Lado v. McAleenan, 327 F. Supp. 3d 1284, 1310 n.12
10     (S.D. Cal. 2018). In any event, an injunction that purports to protect noncitizens’
11     ability to apply for asylum under § 1158(a)(1) is still barred if, as here, it imposes
12     direct requirements on the operation of § 1225 or other covered provisions. See Ale-
13     man Gonzalez, 2022 WL 2111346 at *5-7 & n.4.
14           Any argument that Plaintiffs’ due process claim permits the Court to enter
15     classwide requirements related to the inspection of noncitizens similarly “clashes
16     with § 1252(f)(1) prefatory clause,” which states that the bar applies “‘regardless of
17     the nature of the action or claim.’” Id. at *7. Congress did not evidence any intent to
18     treat constitutional claims differently from statutory claims in this context. See id.
19     Moreover, here, the Court’s finding of a due process violation is entirely based on
20     its finding that Defendants withheld statutory duties from the certified class; it is not
21     rooted in any independent due process rights. MSJ Order at 37-38.
22           Section 1252(f)(1) bars the injunctive relief Plaintiffs seek. 1
23
       1
        Vacatur of agency action or coercive declaratory relief is also prohibited. See Ale-
24     man Gonzalez, 2022 WL 2111346 at *4 (defining an injunction as an order that
25     “‘tells someone what to do or not to do.’”) (quoting Nken v. Holder, 556 U.S. 418,
       428 (2009)). Here, the Court no longer needs to address the propriety of a vacatur
26
       remedy because Defendants have rescinded the relevant agency memos. See ECF
27     No. 775. Defendants recognize that the Ninth Circuit has held that § 1252(f)(1) per-
28     mits classwide declaratory relief, Rodriguez v. Hayes, 591 F.3d 1105, 1119–20 (9th
       Cir. 2010), but reserve arguments opposing such relief.

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 1                              CERTIFICATE OF SERVICE
 2            Al Otro Lado v. Mayorkas, No. 17-cv-02366-BAS-KSC (S.D. Cal.)
 3           I certify that I served a copy of this document on the Court and all parties by
 4     filing this document with the Clerk of the Court through the CM/ECF system, which
 5     will provide electronic notice and an electronic link to this document to all counsel
 6     of record.
 7
 8     DATED: June 29, 2022                   Respectfully submitted,

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                                                                 DEFS.’ SUPPLEMENTAL BRIEF
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